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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

MERVAT HALIM and TAREK HALIM, her
husband,

CIVIL ACTION
Plaintiffs,

' NO. 3:17-cev-05324
SIX FLAGS GREAT ADVENTURE, LLC, er al.,

Defendants.

 

RULE 7.1 DISCLOSURE STATEMENT FORM
Please check one box:

The nongovernmental corporate party, , in the above
listed civil action does not have any publicly held corporation that owns 10% or
more of its stock.

X__ The nongovernmental corporate party, Six Flags Entertainment Corporation, in
the above listed civil action is itself a publicly held corporation.

Respectfully submitted,
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Attorney for Defendants,

Six Flags Great Adventure, LLC

Six Flags Entertainment Corporation
and Six Flags Theme Parks, Inc.

BY:

 

Dated: July 21, 2017

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CERTIFICATE OF SERVICE

The undersigned does hereby certify that true and correct copies of the foregoing Corporate

Disclosure Statements were served upon the counsel of record via ECF and email on this 21° day

of July 2017:

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